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                       In the United States District Court
                            Southern District of Texas
                                Houston Division

Taiz L. Trinidad Bustamante,
Victor Manuel Gomez Mercado,
and Yunier Duliet Elias

        Plaintiffs,
                                               Civil Action No. 4:22-cv-2993
v.

David Camera-Garcia, AI Logistics,
LLC, and USMEX Trucking, Inc.,

        Defendants.

                               Notice of Removal

                                 I. Introduction

        1.     This lawsuit arises from a motor vehicle collision that occurred in

Colorado County, Texas.

        2.     On June 24, 2022, Plaintiffs filed suit in the 25th District Court of

Colorado County, Texas against David Camera-Garcia (“Camera-Garcia”), AI

Logistics, LLC (“AI Logistics”), and USMEX Trucking, Inc. (“USMEX”).

        3.     As shown below, (a) the amount in controversy exceeds $75,000

and (b) the parties are completely diverse. Therefore, AI Logistics exercises its

right to remove this case to federal court.

                                 II. The Parties

        4.     Plaintiffs, all individuals, are citizens of the State of Texas for

diversity purposes.




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        5.    Defendant AI Logistics is a limited liability company. Its sole

member is an individual who resides in the State of California. Therefore, AI

Logistics is a citizen of California for diversity purposes.

        6.    Defendant Camera-Garcia is an individual who resides in

Tijuana, Mexico. Therefore, Camera-Garcia a citizen of Mexico for diversity

purposes.

        7.    Defendant USMEX is a California corporation with its principal

place of business located in California. Therefore, USMEX is a citizen of

California for diversity purposes.

                            III. Basis for Removal

A.      Amount in Controversy

        8.    Plaintiffs seek monetary relief over One Million Dollars. See Pl.’s

Orig. Pet. § XIII. Therefore, the amount-in-controversy requirement for

removal is satisfied.

B.      Complete Diversity of Citizenship Exists between Plaintiffs and
        Defendants.

        9.    As noted above, Plaintiffs are all citizens of Texas, Defendants AI

Logistics and USMEX are citizens of California, and Defendant Camera-

Garcia is a citizen of Mexico. Thus, there is complete diversity of citizenship

between the parties. Additionally, USMEX is an improperly joined defendant.

                            IV. Venue and Timing

        10.   Venue is proper under 28 U.S.C. § 1441(a) because the state court

where the action has been pending is located in this District and Division.



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         11.    This removal is timely because it is filed within 30 days of

Defendant AI Logistics being served with the lawsuit, and within one year of

the commencement of the action.

                               V. Consent Not Required

         12.    Upon information and belief, USMEX and Camera-Garcia have

not yet been served, so their consent is not required for removal. 1 Moreover,

USMEX is an improperly joined defendant. USMEX is merely the company

from whom AI Logistics leased the trailer. It had no involvement with the

incident, and Plaintiffs not have alleged sufficient facts in their Petition to

state a claim for relief against USMEX.

                  VI. Attachments and Notice to State Court

         13.    All documents required under the removal statute and the

Court’s local rules are attached. Defendant AI Logistics will promptly file a

copy of this Notice of Removal and its attachments with the clerk of the state

court.




1       Alternatively, the undersigned counsel also represents Camera-Garcia, and so to the
extent it is necessary, and if Plaintiffs contend and can prove that he has been properly served,
Camera-Garcia also consents to removal.

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                                       Respectfully submitted,

                                       By: /s/ Tarush R. Anand
                                          Tarush R. Anand
                                          Texas Bar No. 24055103
                                          S.D. Tex. Bar No. 712010
                                          tanand@mcglinchey.com
                                          McGlinchey Stafford, PLLC
                                          1001 McKinney, Suite 1500
                                          Houston, Texas 77002
                                          Phone: (713) 520-1900
                                          Fax: (713) 520-1025

                                       Attorney in Charge for Defendant
                                       AI Logistics, LLC

Of Counsel:

Taylor M. Watts
Texas Bar No. 24108369
S.D. Tex. Bar No. 3756389
twatts@mcglinchey.com

                            Certificate of Service

      I certify that a true and correct copy of this document, together with any
exhibits or attachments, is being served on all parties on September 2, 2022 in
accordance with the Federal Rules of Civil Procedure.


                                       /s/ Tarush R. Anand
                                       Tarush R. Anand




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